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             USAA
             FEDERAL
             SAVINGS
             BANK




                                                                                                                                     PAGE             1
      BRYANT E SEWALL
      2605 ALEXA CT
      PLANO TX 75075-3012


                                                                                                                       0
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           ACCOUNT NUMBER                                                  ACCOUNT TYPE                                              STATEMENT PERIOD

            01846-4521-2                                       USAA CLASSIC CHECKING                                               0 8 / 1 1 / 1 7 - 09/12/17

                                NO OF                                                        TOTAL AMOUNT                  SERVICE             BALANCE THIS
           BALANCE              DEBITS          TOTAL AMOUNT                 NO. OF
        LAST STATEMENT           PAID          OF DEBITS PAID                 DEP          OF DEPOSITS MADE                CHARGES               STATEMENT
             3,936.07                 51                78,605.57                    9               75,324.06                    .00                     654.56
               Please examine immediately and report if incorrect. If no report is received within 60 days, the account will be considered correct.


                                                                                  TOTAL                                                 TOTAL
                                                                         NONSUFFICIENT FUNDS (NSF)                                  OVERDRAFT (OD)
                                                                                   FEES                                                  FEES
                    THIS STATEMENT                                                                          0.00                                          0.00
               THIS YEAR'S STATEMENTS                                                                     116.00                                          0.00
               Note: Fee reversals/refunds made by USAA will not reduce the totals on this chart.


         ****THIS IS A CORRECTED STATEMENT FOR SEPTEMBER****
         IT WILL REPLACE THE PREVIOUS STATEMENT YOU RECEIVED THAT HAD
         MISSING WIRE TRANSACTIONS.



          DEPOSITS AND OTHER CREDITS
      DATE..........AMOUNT.TRANSACTION DESCRIPTION
      08/14      18,000.00 WIRE IN
                           001170814993527
      08/14      22,500.00 WIRE IN
                           001170814993262
      08/18       2,900.00 DEBIT CARD REFUND       081717
                           PARK PLACE MOTORS LTD     BELLEVUE     WA
      08/28       1,500.00 ACH CREDIT              082817
                           SERVICE CU        P2P        BRYANT SEWALL
      08/31         408.97 ACH CREDIT              090117
                           VACP TREAS 310    XXVA BENEF ***********3600
      09/05      15,000.00 WIRE IN
                           001170905077889
      09/08      15,000.00 WIRE IN
                           001170908098104
      09/12          15.00 ATM SURCHARGE REBATE
      09/12           0.09 INTEREST PAID

          OTHER DEBITS
      DATE..........AMOUNT.TRANSACTION DESCRIPTION
      08/15       2,900.00 DEBIT CARD PURCHASE     081417
                           PARK PLACE MOTORS LTD     BELLEVUE                                                                   WA
      08/15      29,000.00 WIRE OUT
                           002170815000489
      08/15          20.00 WIRE FEE
                           0021708150004

                                                                                                                                                            93526-0814_05
                                                                                                                                                                   BM1FRT
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                                                USAA FEDERAL SAVINGS BANK
                                                            10750 McDermott Freeway
                                                           San Antonio, TX 78288-0544
                                                                  800-531-8722


PLEASE EXAMINE THIS STATEMENT AT ONCE. IF NO ERROR IS REPORTED IN 60 DAYS, THIS STATEMENT WILL BE CONSIDERED
CORRECT. ALL ITEMS ARE CREDITED SUBJECT TO PAYMENT.

In Case of Errors or Questions About Your Electronic Transfers, Telephone us or Write us at the address and number
listed at the top of this page as soon as you can, if you think your statement or receipt is wrong or if you need more
information about a transfer on the statement or receipt. We must hear from you no later than 60 days after we
sent you the FIRST statement on which the error or problem appeared.
               .    Tell us your name and account number (if any).
               .    Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe
                    it is an error or why you need more information.
               .    Tell us the dollar amount of the suspected error.

We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will
credit your account for the amount you think is in error, so that you will have the use of the money during the time it takes us to
complete our investigation.


             THIS FORM IS PROVIDED TO HELP YOU RECONCILE THIS STATEMENT BALANCE TO YOUR CHECKBOOK BALANCE.


    CHECKS OUTSTANDING
  (Those written which have not                                                            BANK BALANCE
   been charged to your account)

    CHECK#               AMOUNT                                (1) BALANCE THIS STATEMENT
                                                                   (SHOWN ON FRONT PAGE)                        $


                                                               (2) ADD DEPOSITS NOT SHOWN ON
                                                                   THIS STATEMENT (IF ANY)                      +


                                                               (3) SUBTOTAL                                     $


                                                               (4) SUBTRACT TOTAL OF CHECKS                     -
                                                                   OUTSTANDING (IF ANY)

                                                               (5) ADJUSTED BANK BALANCE                        $




                                                                                           YOUR BALANCE


                                                               (6) CHECK REGISTER BALANCE
                                                                                                                $

                                                               (7) ADD CREDITS WHICH APPEAR
                                                                   ON THIS STATEMENT THAT HAVE
                                                                  NOT BEEN RECORDED IN YOUR                     +                     *
                                                                  REGISTER (IF ANY)

                                                               (8) ADD INTEREST CREDITED TO                     +                     *
                                                                   YOUR ACCOUNT (IF ANY)


                                                               (9) SUBTRACT OTHER CHARGES                       -                     *
                                                                   (IF ANY)

                                                              (10) ADJUSTED CHECK REGISTER                  $
   TOTAL             $                                             BALANCE
                                                                    * Be sure to record in your check register.


                              Line 5 and Line 10 should now agree. If not, check the following items in your register:

                                                       -Are all deposits accounted for?
                                                     -Are all amounts entered correctly?
                                                -Are all automatic transactions accounted for?
                                                   -Are all additions and subtractions accurate?

          TERMS AND CONDITIONS: All transactions are subject to the USAA Federal Savings Bank Depository Agreement.
                                                                                                                                          126405-0714
                                                                                                                                             BM1BCK
Case 1:19-cv-02594-RM-SKC Document 187-6 Filed 11/16/20 USDC Colorado Page 3 of 12

              USAA
              FEDERAL
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              BANK




                                                                     PAGE        2
      BRYANT E SEWALL
      2605 ALEXA CT
      PLANO TX 75075-3012


                                                               0
                                                              11

          ACCOUNT NUMBER                  ACCOUNT TYPE               STATEMENT PERIOD

            01846-4521-2            USAA CLASSIC CHECKING           0 8 / 1 1 / 1 7 - 09/12/17



          OTHER DEBITS
      DATE..........AMOUNT.TRANSACTION DESCRIPTION
      08/15            7.50 ACH DEBIT               081517
                            USAA P&C INT      AUTOPAY    ***********0452
      08/15         486.49 ACH DEBIT                081517
                            STREAM ENERGY     UTILITY    ***********5207
      08/15         612.89 ACH PAYMENT
                            TRNSFR TO LOAN 21001000000000001082050814
      08/16          26.55 DEBIT CARD PURCHASE      081517
                            Experian     *CreditRep   866-5827269 CA
      08/17          44.65 DEBIT CARD PURCHASE      081517
                            Squeaky Clean Pool Ser    214-755-8408 TX
      08/18         200.00 ATM DB NONLOCAL          081817
                            Cardtronics CCS2101 W 15TPLANO         TX
      08/23      10,000.00 ACH DEBIT                082217
                            CAPITAL ONE       ONLINE PMT ***********7576
      08/24          44.65 DEBIT CARD PURCHASE      082217
                            Squeaky Clean Pool Ser    214-755-8408 TX
      08/24       1,000.00 ACH DEBIT                082317
                            CAPITAL ONE       ONLINE PMT ***********6507
      08/28          80.00 DEBIT CARD PURCHASE      082617
                            NTTA AUTOCHARGE           972-818-6882 TX
      08/28         207.43 ATM DB NONLOCAL          082517
                            BAHAMAS BANKABM FCIB LYNDNASSAU
      08/30          84.45 DEBIT CARD PURCHASE      082917
                            LOWE'S PHARMACY LTD.      NASSAU
      08/31          44.65 DEBIT CARD PURCHASE      082917
                            Squeaky Clean Pool Ser    214-755-8408 TX
      08/31          81.54 DEBIT CARD PURCHASE      083017
                            RUBIS SHIRLEY STREET      NASSAU
      09/01         306.26 ATM DB NONLOCAL          090117
                            *BS KERZNR INT*ATLANTIS 1PARADISE ISL
      09/01         510.43 ATM DB NONLOCAL          090117
                            BAHAMAS BANKABM FCIB LYNDNASSAU
      09/01          22.65 ACH DEBIT                090117
                            USAA P&C INT      AUTOPAY    ***********0452
      09/01          82.96 ACH DEBIT                090117
                            CITY PLANO        000UT BILL *********** ???
      09/05         179.00 DEBIT CARD PURCHASE      090317
                            SECURLOCK AT ALLEN WES    972-359-7000 TX
                                                                                          105846-0814_06
                                                                                                  BMFR1A
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             FEDERAL
             SAVINGS
             BANK




                                                                   PAGE        3
     BRYANT E SEWALL
     2605 ALEXA CT
     PLANO TX 75075-3012


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                                                            11

         ACCOUNT NUMBER                 ACCOUNT TYPE               STATEMENT PERIOD

           01846-4521-2            USAA CLASSIC CHECKING          0 8 / 1 1 / 1 7 - 09/12/17



         OTHER DEBITS
     DATE..........AMOUNT.TRANSACTION DESCRIPTION
     09/05         264.96 DEBIT CARD PURCHASE     090517
                           HOTELS.COM141289449410   HOTELS.COM   WA
     09/05         461.54 DEBIT CARD PURCHASE     090517
                           HOTELS.COM141289243649   HOTELS.COM   WA
     09/05         651.24 DEBIT CARD PURCHASE     090517
                           HOTELS.COM141288588816   HOTELS.COM   WA
     09/05         882.78 DEBIT CARD PURCHASE     090317
                           ATLANTIS FOOD & BEV      NASSAU
     09/05       1,404.31 DEBIT CARD PURCHASE     090117
                           BOSS INVESTMENTS LTD     NASSAU
     09/05         400.53 ACH DEBIT               090517
                           WELLS FARGO DLR DRAFT       ***********4386
     09/06          80.80 DEBIT CARD PURCHASE     090517
                           RUBIS SHIRLEY STREET     NASSAU
     09/07          44.65 DEBIT CARD PURCHASE     090517
                           Squeaky Clean Pool Ser   214-755-8408 TX
     09/07         402.81 DEBIT CARD PURCHASE     090617
                           HUMANA MILITARY          800-833-6917 KY
     09/07         903.76 DEBIT CARD PURCHASE     090617
                           COPA ARC    8651888169   HAGERTOWN    MD
     09/07         903.76 DEBIT CARD PURCHASE     090617
                           COPA ARC    8651888168   HAGERTOWN    MD
     09/07         903.76 DEBIT CARD PURCHASE     090617
                           COPA ARC    8651888167   HAGERTOWN    MD
     09/07         903.76 DEBIT CARD PURCHASE     090617
                           COPA ARC    8651888170   HAGERTOWN    MD
     09/08            9.00 DEBIT CARD PURCHASE    090717
                           DSC*DOLLAR SHAVE CLUB    866-2232780 CA
     09/08         509.80 ATM DB NONLOCAL         090817
                           CREDOMATIC   CRPUN-BAC- JSAN JOSE
     09/11          42.65 DEBIT CARD PURCHASE     090817
                           CANOPY VISTAS LOS SUEN   PUNTARENAS
     09/11          47.47 DEBIT CARD PURCHASE     090917
                           EL JARDIN                ALAJUELA
     09/11          64.64 DEBIT CARD PURCHASE     090917
                           TRES GENERACIONES DOKA   ALAJUELA
     09/11          85.85 DEBIT CARD PURCHASE     091017
                           VIKINS AND SURF          PUNTARENAS
                                                                                        105846-0814_06
                                                                                                BMFR1A
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              FEDERAL
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              BANK




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      BRYANT E SEWALL
      2605 ALEXA CT
      PLANO TX 75075-3012


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          ACCOUNT NUMBER                 ACCOUNT TYPE                 STATEMENT PERIOD

            01846-4521-2            USAA CLASSIC CHECKING            0 8 / 1 1 / 1 7 - 09/12/17



          OTHER DEBITS
      DATE..........AMOUNT.TRANSACTION DESCRIPTION
      09/11          98.98 DEBIT CARD PURCHASE     090917
                           EL JARDIN                 ALAJUELA
      09/11         128.32 DEBIT CARD PURCHASE     091017
                           TIENDA RIP CURL           PUNTARENAS
      09/11         153.66 DEBIT CARD PURCHASE     090717
                           TSUNAMI SUSHI JACO        PUNTARENAS
      09/11         277.84 DEBIT CARD PURCHASE     091017
                           MANGO SURF SHOP JACO      PUNTARENAS
      09/11         334.82 DEBIT CARD PURCHASE     090917
                           MANGO SURF SHOP JACO      PUNTARENAS
      09/11         525.20 DEBIT CARD PURCHASE     090917
                           COSTA RICA TOUR OFFICE    PUNTARENAS
      09/11       1,500.00 ACH DEBIT               090917
                           CAPITAL ONE      ONLINE PMT ***********0505
      09/11       2,025.08 ACH DEBIT               091117
                           Miro             WEB PMTS    ***********80T3
      09/11      18,500.00 ACH DEBIT               090917
                           CAPITAL ONE      ONLINE PMT ***********0504
      09/12         151.50 DEBIT CARD PURCHASE     090817
                           CANOPY VISTA LOS SUENO    GARABITO

           FOREIGN TRANSACTION FEES INCURRED THIS CYCLE           59.19

       ACCOUNT BALANCE SUMMARY
            DATE..........BALANCE   DATE..........BALANCE
            08/11        3,936.07   08/30        4,121.46
            08/14       44,436.07   08/31        4,404.24
            08/15       11,409.19   09/01        3,481.94
            08/16       11,382.64   09/05       14,237.58
            08/17       11,337.99   09/06       14,156.78
            08/18       14,037.99   09/07       10,094.28
            08/23        4,037.99   09/08       24,575.48
            08/24        2,993.34   09/11          790.97
            08/28        4,205.91   09/12          654.56




                                                                                           105846-0814_06
                                                                                                   BMFR1A
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     BRYANT E SEWALL
     2605 ALEXA CT
     PLANO TX 75075-3012


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                                                           11

         ACCOUNT NUMBER                 ACCOUNT TYPE              STATEMENT PERIOD

           01846-4521-2           USAA CLASSIC CHECKING          0 8 / 1 1 / 1 7 - 09/12/17




       * * * * * * * *   INTEREST PAID INFORMATION   * * * * * * * *
       YOUR INTEREST PAID WAS CALCULATED USING YOUR DAILY BALANCE FOR
      32 DAYS FOR AN ANNUAL PERCENTAGE YIELD EARNED OF 0.01%. THIS
       BRINGS YOUR YTD INTEREST PAID TO        1.05.




                                                                                       105846-0814_06
                                                                                               BMFR1A
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             SAVINGS
             BANK




                                                                                                                                     PAGE             1
      BRYANT E SEWALL
      2605 ALEXA CT
      PLANO TX 75075-3012


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           ACCOUNT NUMBER                                                  ACCOUNT TYPE                                              STATEMENT PERIOD

            01846-4521-2                                       USAA CLASSIC CHECKING                                               0 5 / 1 1 / 1 7 - 06/12/17

                                NO OF                                                        TOTAL AMOUNT                  SERVICE             BALANCE THIS
           BALANCE              DEBITS          TOTAL AMOUNT                 NO. OF
        LAST STATEMENT           PAID          OF DEBITS PAID                 DEP          OF DEPOSITS MADE                CHARGES               STATEMENT
             4,145.60                 26                35,026.33                  10                33,937.26                    .00                     3,056.53
               Please examine immediately and report if incorrect. If no report is received within 60 days, the account will be considered correct.


                                                                                  TOTAL                                                 TOTAL
                                                                         NONSUFFICIENT FUNDS (NSF)                                  OVERDRAFT (OD)
                                                                                   FEES                                                  FEES
                    THIS STATEMENT                                                                         58.00                                            0.00
               THIS YEAR'S STATEMENTS                                                                     116.00                                            0.00
               Note: Fee reversals/refunds made by USAA will not reduce the totals on this chart.


         THIS ACCOUNT WILL SOON BE KNOWN AS USAA CLASSIC CHECKING.
         THE NAME WILL CHANGE, BUT THE SECURITY, FEATURES AND
         BENEFITS WILL REMAIN THE SAME.



          DEPOSITS AND OTHER CREDITS
      DATE..........AMOUNT.TRANSACTION DESCRIPTION
      05/12       8,300.00 WIRE IN
                           001170512621215
      05/18      15,000.00 WIRE IN
                           001170518643469
      05/22         141.56 DEBIT CARD REFUND       051917
                           SW VAL VISTA LAKES-262    MESA         AZ
      05/23          29.00 NSF FEE REFUND
      05/31         408.97 ACH CREDIT              060117
                           VACP TREAS 310    XXVA BENEF ***********3600
      06/06           7.64 DEPOSIT @ HOME
      06/06          50.00 DEPOSIT @ HOME
      06/06       5,000.00 DEPOSIT @ HOME
      06/06       5,000.00 DEPOSIT @ HOME
      06/12           0.09 INTEREST PAID

          CHECKS
      DATE..CHECK NO...........AMOUNT                                    DATE..CHECK NO...........AMOUNT
      06/08      1002        5,000.00

          OTHER DEBITS
      DATE..........AMOUNT.TRANSACTION DESCRIPTION
      05/15          33.00 DEBIT CARD PURCHASE     051517
                           NTTA CUST SVC ONLINE      972-818-6882 TX
      05/15         612.89 ACH PAYMENT
                           TRNSFR TO LOAN 21001000000000001082050814

                                                                                                                                                              93526-0814_05
                                                                                                                                                                     BM1FRT
Case 1:19-cv-02594-RM-SKC Document 187-6 Filed 11/16/20 USDC Colorado Page 8 of 12

                                                USAA FEDERAL SAVINGS BANK
                                                            10750 McDermott Freeway
                                                           San Antonio, TX 78288-0544
                                                                  800-531-8722


PLEASE EXAMINE THIS STATEMENT AT ONCE. IF NO ERROR IS REPORTED IN 60 DAYS, THIS STATEMENT WILL BE CONSIDERED
CORRECT. ALL ITEMS ARE CREDITED SUBJECT TO PAYMENT.

In Case of Errors or Questions About Your Electronic Transfers, Telephone us or Write us at the address and number
listed at the top of this page as soon as you can, if you think your statement or receipt is wrong or if you need more
information about a transfer on the statement or receipt. We must hear from you no later than 60 days after we
sent you the FIRST statement on which the error or problem appeared.
               .    Tell us your name and account number (if any).
               .    Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe
                    it is an error or why you need more information.
               .    Tell us the dollar amount of the suspected error.

We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will
credit your account for the amount you think is in error, so that you will have the use of the money during the time it takes us to
complete our investigation.


             THIS FORM IS PROVIDED TO HELP YOU RECONCILE THIS STATEMENT BALANCE TO YOUR CHECKBOOK BALANCE.


    CHECKS OUTSTANDING
  (Those written which have not                                                            BANK BALANCE
   been charged to your account)

    CHECK#               AMOUNT                                (1) BALANCE THIS STATEMENT
                                                                   (SHOWN ON FRONT PAGE)                        $


                                                               (2) ADD DEPOSITS NOT SHOWN ON
                                                                   THIS STATEMENT (IF ANY)                      +


                                                               (3) SUBTOTAL                                     $


                                                               (4) SUBTRACT TOTAL OF CHECKS                     -
                                                                   OUTSTANDING (IF ANY)

                                                               (5) ADJUSTED BANK BALANCE                        $




                                                                                           YOUR BALANCE


                                                               (6) CHECK REGISTER BALANCE
                                                                                                                $

                                                               (7) ADD CREDITS WHICH APPEAR
                                                                   ON THIS STATEMENT THAT HAVE
                                                                  NOT BEEN RECORDED IN YOUR                     +                     *
                                                                  REGISTER (IF ANY)

                                                               (8) ADD INTEREST CREDITED TO                     +                     *
                                                                   YOUR ACCOUNT (IF ANY)


                                                               (9) SUBTRACT OTHER CHARGES                       -                     *
                                                                   (IF ANY)

                                                              (10) ADJUSTED CHECK REGISTER                  $
   TOTAL             $                                             BALANCE
                                                                    * Be sure to record in your check register.


                              Line 5 and Line 10 should now agree. If not, check the following items in your register:

                                                       -Are all deposits accounted for?
                                                     -Are all amounts entered correctly?
                                                -Are all automatic transactions accounted for?
                                                   -Are all additions and subtractions accurate?

          TERMS AND CONDITIONS: All transactions are subject to the USAA Federal Savings Bank Depository Agreement.
                                                                                                                                          126405-0714
                                                                                                                                             BM1BCK
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              FEDERAL
              SAVINGS
              BANK




                                                                     PAGE        2
      BRYANT E SEWALL
      2605 ALEXA CT
      PLANO TX 75075-3012


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                                                              11

          ACCOUNT NUMBER                  ACCOUNT TYPE               STATEMENT PERIOD

            01846-4521-2            USAA CLASSIC CHECKING           0 5 / 1 1 / 1 7 - 06/12/17



          OTHER DEBITS
      DATE..........AMOUNT.TRANSACTION DESCRIPTION
      05/16          26.55 DEBIT CARD PURCHASE      051517
                            Experian     *CreditRep   866-5827269 CA
      05/16         264.46 ACH DEBIT                051617
                            STREAM ENERGY     UTILITY    ***********6226
      05/18      10,000.00 ACH DEBIT                051817
                            CAPITAL ONE CARD ONLINE PMT ***********3POS
      05/19          44.65 DEBIT CARD PURCHASE      051717
                            Squeaky Clean Pool Ser    214-755-8408 TX
      05/22          29.00 NSF FEE-ITEM RETURNED
                            ACH - CAPITAL ONE CARDONLINE PM
      05/22          48.77 ACH DEBIT                052217
                            CAPITAL ONE       ONLINE PMT ***********4061
      05/24            1.00 USAA FUNDS TRANSFER DB
      05/24            1.00 USAA FUNDS TRANSFER DB
      05/24          44.65 DEBIT CARD PURCHASE      052217
                            Squeaky Clean Pool Ser    214-755-8408 TX
      05/25          29.00 NSF FEE-ITEM RETURNED
                            ACH - CAPITAL ONE CARDRETRY PYM
      05/30          91.48 ACH DEBIT                053017
                            CITY PLANO        000UT BILL *********** ???
      05/30      12,000.00 ACH DEBIT                053017
                            CAPITAL ONE       ONLINE PMT ***********1195
      05/31         400.00 ACH DEBIT                053117
                            WELLS FARGO DLR FEE & PMTS ***********4386
      06/01         165.18 ACH DEBIT                060117
                            USAA P&C INT      AUTOPAY    ***********0452
      06/01       2,850.00 ACH DEBIT                060117
                            Butler Property WEB PMTS     ***********RYG1
      06/02          44.65 DEBIT CARD PURCHASE      053117
                            Squeaky Clean Pool Ser    214-755-8408 TX
      06/02         161.10 DEBIT CARD PURCHASE      060217
                            SECURLOCK AT ALLEN WES    972-359-7000 TX
      06/06         402.81 DEBIT CARD PURCHASE      060617
                            HUMANA MILITARY           800-833-6917 KY
      06/06       2,000.00 DEBIT CARD PURCHASE      060617
                            VENMO                     855-812-4430 NY
      06/08          15.00 DEBIT CARD PURCHASE      060717
                            DSC*DOLLAR SHAVE CLUB     866-2232780 CA
                                                                                          105846-0814_06
                                                                                                  BMFR1A
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            USAA
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            BANK




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    BRYANT E SEWALL
    2605 ALEXA CT
    PLANO TX 75075-3012


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        ACCOUNT NUMBER                 ACCOUNT TYPE                  STATEMENT PERIOD

          01846-4521-2            USAA CLASSIC CHECKING          0 5 / 1 1 / 1 7 - 06/12/17



        OTHER DEBITS
    DATE..........AMOUNT.TRANSACTION DESCRIPTION
    06/08         216.49 DEBIT CARD PURCHASE     060717
                         AT&T D118 8048            PLANO        TX
    06/09          44.65 DEBIT CARD PURCHASE     060717
                         Squeaky Clean Pool Ser    214-755-8408 TX
    06/12         500.00 DEBIT CARD PURCHASE     061017
                         VENMO                     855-812-4430 NY

     ACCOUNT BALANCE SUMMARY
          DATE..........BALANCE   DATE..........BALANCE
          05/11        4,145.60   05/25       16,481.19
          05/12       12,445.60   05/30        4,389.71
          05/15       11,799.71   05/31        4,398.68
          05/16       11,508.70   06/01        1,383.50
          05/18       16,508.70   06/02        1,177.75
          05/19       16,464.05   06/06        8,832.58
          05/22       16,527.84   06/08        3,601.09
          05/23       16,556.84   06/09        3,556.44
          05/24       16,510.19   06/12        3,056.53




      * * * * * * * *   INTEREST PAID INFORMATION   * * * * * * * *
      YOUR INTEREST PAID WAS CALCULATED USING YOUR DAILY BALANCE FOR
     32 DAYS FOR AN ANNUAL PERCENTAGE YIELD EARNED OF 0.01%. THIS
      BRINGS YOUR YTD INTEREST PAID TO        0.85.




                                                                                       105846-0814_06
                                                                                               BMFR1A
Case 1:19-cv-02594-RM-SKC Document 187-6 Filed 11/16/20 USDC Colorado Page 11 of
                                      12




     Check:   1002       Amount:5,000.00
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                                      12
